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8
                                      UNITED STATES DISTRICT COURT
9
                                FOR THE EASTERN DISTRICT OF CALIFORNIA
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11
     INFINITY ENERGY, INC., a California Corporation, )   CASE NO.: 2:21-CV-00438-WBS-KJN
12                                                    )
                    Plaintiff,                        )   ASSIGNED TO:
13                                                    )   THE HON. WILLIAM B. SHUBB
             vs.                                      )
14                                                    )   JOINT REQUEST TO MODIFY SCHEDULING
                                                      )   ORDER AND ORDER
15   INFINITE ENERGY HOME SERVICES, INC., a           )
     California Corporation.                          )
16                                                    )
                    Defendant.                        )   SUIT FILED:           MARCH 11, 2021
17                                                    )
                                                      )
18                                                    )
                                                      )
19

20
             Pursuant to Federal Rules of Civil Procedure, Rule 16(b)(4), Plaintiff Infinity Energy, Inc.
21
     (“Plaintiff”) and Defendant Infinite Energy Home Services, Inc. (“Defendant”) (collectively, the
22
     “Parties”) jointly request the court modify the Pretrial Scheduling Order, issued on September 1,
23
     2022.
24
             The court has the authority to modify the pretrial Scheduling Order for good cause. (FRCP
25
     Rule 16(b)(4)).
26
             The Parties have been pursuing their discovery obligations, however on account of a
27
     recent and immediate medical condition suffered by Defendant’s PMQ, the Parties agree to an
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                            JOINT REQUEST TO MODIFY SCHEDULING ORDER AND ORDER

                                                                           Case No. 2:21-CV-00438-WBS-KJN
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1    additional time to complete the outstanding discovery items. Defendant’s PMQ is currently

2    hospitalized and remains in poor health. More information can be provided upon the Court’s

3    request by way of an in-camera proceeding.

4            The Parties require an extension of the discovery cut-off date to complete certain

5    depositions which have either yet to be completed due to scheduling obstacles or are of

6    witnesses who have only recently been identified during PMQ depositions. Given the complexity

7    of the issues raised, the numerous individuals identified for deposition, and the extent of written

8    discovery, the Parties believe it is in the best interests of both sides to modify the Court’s

9    pretrial Scheduling Order, and to continue the trial itself.

10          The Parties have met and conferred and have identified the remaining depositions to be

11   completed including Plaintiff’s PMQ, Cory Gilbert, Defendant’s PMQ, Rich Walton, Plaintiff’s and

12   Defendant’s disclosed experts, and the brief conclusion of the deposition of Plaintiff’s PMQ,

13   Wesley Armstrong. The parties have completed written discovery.

14          As such, the Parties respectfully request that the Court modify the September 1, 2022,

15   Scheduling Order as follows:

16          1.      The depositions of Plaintiff’s PMQ, Cory Gilbert, Defendant’s PMQ, Rich Walton,

17                  Plaintiff’s and Defendant’s disclosed experts, and the brief conclusion of Plaintiff’s

18                  PMQ, Wesley Armstrong, shall be conducted as to be completed by March 27,

19                  2023. All other discovery is closed.

20          2.      All motions, except for motions for continuances, temporary restraining orders,

21                  or other emergency orders, shall be filed on or before April 24, 2023.

22          3.      The Final Pretrial Conference shall be July 18, 2023, or as soon thereafter as the

23                  Court’s schedule shall allow.

24          4.      The trial shall commence on September 18, 2023, at 9:00 a.m., or as soon

25                  thereafter as the Court’s schedule shall allow.

26          The Parties request that all other dates included in the September 1, 2022, Scheduling

27   Order shall remain in effect.

28                                                      2

                            JOINT REQUEST TO MODIFY SCHEDULING ORDER AND ORDER

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3    Dated: January 5, 2023

4    Respectfully submitted,

5                                                       ELGUINDY, MEYER & KOEGEL, APC

6
                                                       By:    /s/ Benjamin Koegel
7                                                             David L. Price, Esq.
8                                                             Benjamin D. Koegel, Esq.
                                                              W. Patrick Cronican, Esq.
9                                              Attorneys for Plaintiff INFINITY ENGERY, INC., a
                                               California Corporation
10

11

12
     Dated: January 5, 2023
13
     Respectfully submitted,
14
                                                             KROGH & DECKER, LLP
15

16
                                                       By:   /s/ Cagil Arel
17                                                           Shawn M. Krogh, Esq.
                                                             Cagil Arel, Esq.
18                                            Attorneys for Defendant INFINITE ENERGY HOME
                                              SERVICES, INC.
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                          JOINT REQUEST TO MODIFY SCHEDULING ORDER AND ORDER

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1                                                        ORDER

2              Having found good cause exists pursuant to FRCP 16(b)(4), the court GRANTS the Parties’

3    motion to modify the September 1, 2022, pretrial Scheduling Order.

4              The September 1, 2022, pretrial Scheduling Order is modified as follows:

5              1.     The depositions of Plaintiff’s PMQ, Cory Gilbert, Defendant’s PMQ, Rich Walton,

6                     Plaintiff’s and Defendant’s disclosed experts, and the brief conclusion of Plaintiff’s

7                     PMQ, Wesley Armstrong, shall be conducted as to be completed by March 27,

8                     2023. All other discovery is closed.

9              2.     All motions, except for motions for continuances, temporary restraining orders,

10                    or other emergency orders, shall be filed on or before April 24, 2023.

11             3.     The Final Pretrial Conference shall be on July 17, 2023 at 1:30 p.m.

12             4.     The trial shall commence on September 19, 2023, at 9:00 a.m.

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14             All other dates contained in the September 1, 2022, Scheduling Order shall remain in

15   effect.

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17             IT IS SO ORDERED.

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19             Dated: January 5, 2023

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                             JOINT REQUEST TO MODIFY SCHEDULING ORDER AND ORDER

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